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 1 KYLE R. KNAPP
   Attorney at Law
 2 California State Bar No. 166597
   1120 D Street, Suite 100
 3 Sacramento, CA 95814
   Telephone: (916) 441-4717
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 5 Attorney for Kenneth Hernandez

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 8                                      UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                      )   CASE NO. 11CR-188 - LJO
                                                  )
12                                 Plaintiff,     )
                                                  )
13                                                )
     v.                                           )
14                                                )   STIPULATION AND ORDER
                                                  )   CONTINUING DATE FOR JUDGEMENT
15 KENNETH HERNANDEZ,                             )   AND SENTENCING
                                                  )
16                                 Defendant.     )
                                                  )
17 __________________________________             )

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Kimberly Sanchez, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp,
20 attorney for defendant, KENNETH HERNANDEZ, that the current hearing date of November 4, 2013

21 be vacated and the matter be re-set for December 2, 2013 at 10:30 am. Additional time is needed

22 to fully address and potentially resolve some relevant conduct issues and deal with and explore

23 some state court warrants, including one for attempted murder that reflects upon the same.

24 Defense counsel also needs further time to object to some issues revealed in the Fifty-three page

25 long presentence report. The pre-sentence report contains a tremendous amount of material that

26 needs to be rebutted. Finally, I have been unable to meet and fully confer with my client as he is
27 housed in Bakersfield and communication has been a logistical problem.

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                               Case 1:11-cr-00188-JLT-BAM Document 128 Filed 10/15/13 Page 2 of 2
                               It is respectfully requested that due to the need to resolve and explore the state court
 1 criminal issues and to fully rebut and address the copious material contained within the pre-

 2
     sentence report that the matter be re-set with a revised briefing schedule. Expressly, that the
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     Informal Objections be due to the government and probation on November 11, 2013; final PSR due
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 5 on November 18, 2013; and the Formal Objections be filed with the court and served on probation

 6 no later than November 25, 2013.

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 9 Dated: October 14, 2013                                                                                     Respectfully
                                                                                   submitted.
10
                                                                                     /s/ Kyle R. Knapp
11                                                                                 Kyle R. Knapp
                                                                                   Attorney for Defendant, Kenneth
12                                                                                 Hernandez
13 Dated: October 14, 2013                                                                                     Respectfully
                                                                                   submitted.
14
                                                                                     /s/ Kimberly Sanchez
15                                                                                 Kimberly Sanchez
                                                                                   Assistant U.S. Attorney
16                                                                                 Attorney for Plaintiff
17
                                                                       ORDER
18
                               GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the November 4,
19
     2013 hearing is vacated and the matter is re-set for judgment and sentencing on December 2, 2013.
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     Further, that Informal Objections are due by November 11, 2013 and the formals be filed and
21
     served no later than November 25, 2013.
22

23
     IT IS SO ORDERED.
24
                            Dated:   October 15, 2013                          /s/ Lawrence J. O’Neill
25                                                                     UNITED STATES DISTRICT JUDGE
     DEAC_Signature-E ND:




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